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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION

BEXAR COUNTY HOSPITAL §
DISTRICT d/b/a University Health §
System, §
§
Plaintiff, §
§

V. § SA-19-CA-124-FB (HJB)
§
SCHINDLER ELEVATOR §
CORPORATION, §
§
Defendant. §

ORDER

Before the Court is Plaintiffs Motion for Summary Judgment on Defendant’s Affirmative
Defenses (Docket Entry 27) filed on December 16, 2019.

Under Local Rule CV-7(e)(2), a response to a dispositive motion must be filed “not later
than 14 days after the filing of the motion.” The Rule further provides that, “[i]f there is no
response filed within the time period prescribed by this rule, the court may grant the motion as
unopposed.” Jd. Defendant’s 14-day response to Plaintiffs motions for summary judgment
(Docket Entry27) was due December 30, 2019. The time to respond has passed, yet Defendant
has not responded.

Accordingly, it is hereby ORDERED that, within fourteen (14) days of the date of this
Order, Defendant must respond to Plaintiffs motion for summary judgment (Docket Entry 27).

Failure to respond will result in the motion being considered as unopposed.

SIGNED on January 8, 2020. fe ) re

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United States Magistrate Judge
